               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA

FRED PONDER,                              )
                                          )
             Plaintiff,                   )   Civil Action No.
                                          )
v.                                        )   1:16-cv-04125-ODE-LTW
                                          )
OCWEN LOAN SERVICING                      )
LLC, et al.,                              )
                                          )
             Defendants.                  )

             PLAINTIFF’S RESPONSE IN OPPOSITION TO
     DEFENDANT’S MOTION FOR A PROTECTIVE ORDER TO QUASH
     PLAINTIFF’S NON-PARTY SUBPOENAS TO BOSTON PORTFOLIO
            ADVISORS, INC. AND STONETURN GROUP, LLP
       COMES NOW Plaintiff, Fred Ponder by counsel, and files his Response in

Opposition to Defendant’s Motion for a Protective Order, and shows this Court the

following:

                          PROCEDURAL HISTORY

       On April 26, 2019, Plaintiff noticed the service of a subpoena for a 30(b)(6)

deposition upon non-party Boston Portfolio Advisors, Inc. (“BPA” ) for May 13,

2019 at 10:00 am at the office of BPA, 600 Corporate Drive, Suite 502, Ft.

Lauderdale, Florida, 33334. See Notice of Deposition attached as Exhibit A. Plaintiff

served BPA on April 30, 2019 at 10:40 am. See Return of Service attached as Exhibit

B. Defendant filed the subject motion on May 13, 2019 at 9:13 am, just 47 minutes

before the time for which the deposition of BPA was scheduled.

                                                                                   1
      On May 7, 2019, Plaintiff noticed the service of a subpoena for a 30(b)(6)

deposition upon non-party StoneTurn Group, LLP. (“STG” ) for May 21, 2019 at

10:00 am at the office of STG, 75 State Street, Suite 902, Boston, Massachusetts

02109. See Notice of Deposition attached as Exhibit C. Plaintiff served STG on May

8, 2019 at 2 pm. See Affidavit of Service attached as Exhibit D. for May 21, 2019 at

10:00 am at the office of STG, 75 State Street, Suite 902, Boston, Massachusetts

02109. STG’s counsel served Plaintiff with objections on May 17, 2019. A copy of

STG’s objections is attached hereto as Exhibit E. The United States District Court,

District of Massachusetts quashed Plaintiff’s subpoena on May 24, 2019 with leave

to reissue if necessary following Ocwen’s production of discovery material on the

basis that it is likely duplicative of discovery requests sent to Defendant and

therefore poses an undue burden on STG. See Order Quashing Plaintiff’s Subpoena

is attached hereto as Exhibit F. Therefore Defendant’s motion as to STG is currently

moot and should be dismissed. The District Court of Massachusetts failed to

recognize that Defendant’s objections to Plaintiff’s discovery requests claim not to

have the requested documents: “Ocwen objects that this Request seeks documents

and information from a third party… ” See Defendant’s Responses and Objections

to Plaintiff’s Second Request for Production of Documents attached as Exhibit G,

¶¶¶ 26-28.




                                                                                  2
                                 BACKGROUND

      This case arises because Ocwen, while servicing the Plaintiff, Fred Ponder’s

mortgage account, refused to correct inaccurate reporting on two separate trade lines

for the same account in Mr. Ponder’s credit file, indicating a default on his mortgage,

refused to investigate Mr. Ponder’s notices of error sent to Ocwen, failed to respond

to qualified written requests for documents and information, and knowingly engaged

in abusive collection practices on Mr. Ponder’s mortgage account. Ocwen acquired

servicing rights to Mr. Ponder’s mortgage when it acquired Litton Loan Servicing

in 2011. See 2012 Consent Order entered between the New York State Department

of Financial Services (“NYSDFS “) and Ocwen attached hereto as Exhibit H, p. 1.

The claims and defenses in this action relate to Defendant’s violations under the Real

Estate Settlement Procedures Act (“RESPA” ), the Fair Credit Reporting Act

(“FCRA” ), and the Fair Debt Collection Practices Act (“FDCPA” ). The subpoenaed

deposition and documents relate to evidence steming from an investigation

conducted due to NYSDFS’s concerns regarding Ocwen’s rapid growth and capacity

to properly acquire and service a significant portfolio of distressed home loans:

      [I]n connection with Ocwen’s acquisition of Litton and amid concerns
      regarding Ocwen’s rapid growth and capacity to properly board a
      significant portfolio of distressed home loans, Ocwen and the New
      York State Department of Financial Services… entered into an
      [a]greement… , which required Ocwen to; (1) establish and maintain
      sufficient capacity to properly board and manage its significant
      portfolio of distressed loans; (2) engage in sound document execution
      and retention practices to ensure that mortgage files were accurate,
                                                                                     3
      complete, and reliable; and (3) implement a system of robust internal
      controls and oversight with respect to mortgage servicing practices
      performed by its staff and third-party vendors…

Ex. H, pp. 1-2; See also the NYSDFS and Ocwen 2014 Consent Order attached

hereto as Exhibit I, p. 2 ( “Agreement on Mortgage Servicing Practices… required

Ocwen to adhere to certain servicing practices in the best interest of borrowers and

investors.” ). Prior to the agreement “a multistate examination of Ocwen…

identified, among other things, deficiencies in Ocwen’s servicing platform and loss

mitigation infrastructure, including (a) robo-signing, (b) inaccurate affidavits and

failure to properly validate document execution processes, (c) missing

documentation, … [and] (e) failure to properly maintain books and records… ” Ex.

I, p. 3. Further, “[t]he examination of Litton also revealed that, prior to Ocwen’s

acquisition of Litton, members of Litton’s information technology staff falsified

documents provided to the [NYSDFS] during the review of Litton’s information

technology infrastructure.” Ex. H, p. 1.

      On June 13, 2012, the NYSDFS conducted a targeted examination of Ocwen

to assess its compliance with the aforementioned agreement and determined that

Ocwen had failed to implement “policies and procedures to verify borrower

information on newly boarded accounts to accurately reflect the status and current

balance of the borrower’s account… ” Ex. H, pp. 1 & 4. “The targeted examination

also identified instances that indicated… [and] (b) dual-tracking… ” Ex. I, pp. 4-5.


                                                                                       4
      Ocwen agreed to hire a Compliance Monitor for a comprehensive review of

its servicing operations and operational policies and procedures, compliance with

state and federal law, the accuracy of borrower account information, and borrower

complaints, among other topics. Ex. H, pp. 4-6, and Ex. I, p. 5. BPA is one of two

compliance monitors who were hired by Ocwen. The NYSDFS and the Compliance

Monitor identified numerous and significant additional violations of the 2011

Agreement, among other things, (a) inadequate and ineffective information

technology systems and personnel, and (b) widespread conflicts of interest with

related parties.” Ex. I, p. 2 & 6.

      … Ocwen’s information technology systems are a patchwork of legacy
      systems and systems inherited from acquired companies, many of
      which are incompatible… a fix to one system creates unintended
      consequences in other systems.

Ex. G, p. 6. “As a result, Ocwen regularly gives borrowers incorrect or outdated

information, sends borrowers backdated letters, unreliably tracks data for investors,

and maintains inaccurate records. There are insufficient controls in place— either

manual or automated— to catch all of these errors and resolve them.” Ex. G, p. 6.

      Ocwen’s core servicing functions rely on its inadequate systems.
      Specifically, Ocwen uses comment codes entered either manually or
      automatically to service its portfolio; each code initiates a process, such
      as sending a delinquency letter to a borrower, or referring a loan to
      foreclosure counsel. With Ocwen’s rapid growth and acquisitions of
      other servicers, the number of Ocwen’s comment codes has ballooned
      to more than 8,400 such codes. Often, due to insufficient integration
      following acquisitions of other servicers, there are duplicate codes that
      perform the same function. The result is an unnecessarily complex

                                                                                    5
       system of comment codes, including, for example, 50 different codes
       for the single function of assigning a struggling borrower a designated
       customer care representative.

Ex. I, p. 7. “Despite these issues, Ocwen continues to rely on those systems to service

its portfolio of distressed loans” leading “it to employ fewer trained personnel than

its competitors” , and hiring “offshore customer care personnel, that Ocwen is

simply… training… to read the scripts and the dialogue engines with feeling.” Ex.

I, p. 7-8.

       Additionally, Ocwen agreed to an Operations Monitor who would thoroughly

review its operations and submit monthly action reports and quarterly operation

reports within the statutes of limitations of this case. Ex. I pp. 11-15. The scope of

these reports includes “[i]nformation technology systems and personnel, including

with respect to record keeping and borrower communications” , “[n]umber of

personnel and the training and expertise of its personnel in all servicing operations” ,

“[o]nboarding process for newly acquired mortgage servicing rights, including

Ocwen’s ability to onboard newly acquired MSRs without interruption to servicing

newly acquired loans or its existing loan portfolio” , [c]ontrols in identifying and

correcting errors made by Ocwen’s personnel or systems” , [r]isk management

functions” , [c]ontracts or proposed contracts with third parties, including but not

limited to related parties, “Ocwen borrower experience, “Determinations as to

whether Ocwen’s servicing, compliance, and information technology functions are


                                                                                      6
adequately staffed” , “Determinations as to whether Ocwen’s servicing, compliance,

and information technology personnel are adequately trained” , “Determinations as

to whether Ocwen’s information technology infrastructure and ongoing investment

in information technology systems are adequate” , “Determinations as to whether

Ocwen is adequately addressing the issues identified by the Operations Monitor and

the Compliance Monitor” , “[t]he development and implementation of a plan to

resolve record-keeping and borrower communication issues” , “[t]he development

and performance of a risk assessment to identify potential risks and deficiencies in

the onboarding process” . Ex. I pp. 11-15. As is shown from Mr. Ponder’s story,

below, these records are highly relevant to his claims.

      Mr. Ponder fell behind on his mortgage payments back in 2005, but he was

able to catch up by February of 2009. See a copy of Litton’s ledger attached as

Exhibit J. Then, on March 11, 2009, Litton reversed payments for eight months of

payments, applied late fees for each of these dates, and applied the balance to itself,

Litton, for what it input to its ledger as “Recovery of ES Adv from Borrower.” Ex.

J. Further, Litton’s ledger is full of bogus fees for services that are unexplained, and

for which Ocwen cannot or will not provide an explanation, such as “LENDER

PLACED FIRE.” Ex. J.

      Defendant has also failed to respond to multiple qualified written requests,

failed to investigate notices of error, and continued to report the account as a double


                                                                                      7
trade-line report. Despite Mr. Ponder disputing Ocwen’s errors directly to Ocwen,

then through the consumer reporting agencies, Ocwen continued to falsely report

just about the worst thing that could appear on a consumer’s report: a defaulted

mortgage. See July 25, 2015 Trans Union Credit Report attached hereto as Exhibit

K, bates stamp TU 16. In fact, Ocwen reported two defaulted mortgages. See Ex. K

TU 16-TU 17.

      Under RESPA, Mr. Ponder has a cause of action pursuant to 12 U.S.C.

2605(f). Pursuant to Section 2605(e), Mr. Ponder sent documentation to Ocwen

indicating that he had been paying his mortgage as required and disputing any

delinquency, including the assessment of late charges and other default fees. He

asked that Ocwen remove the delinquency and investigate his claims. Ocwen did not

1) make any corrections to the account, 2) conduct any investigation to his claims,

3) provide Mr. Ponder any written explanation regarding his request or 4) cease its

delinquent credit reporting during his disputes, despite their obligations under

Section 2605(e)(2) and (3) until Mr. Ponder filed a complaint with the CFPB.

      There are three primary claims available to a consumer under the FCRA when

inaccurate information is published about him. The first two causes of action arise

under 15 U.S.C. §1681e(b) and 15 U.S.C. §1681i and only apply to “consumer

reporting agencies” (CRAs), most commonly Equifax, Experian and Trans Union.

The third type of FCRA claim applies to furnishers such as Ocwen, and is codified


                                                                                 8
at 15 U.S.C. §1681s-2(b). In 1996, Congress amended the FCRA to add §1681s-2,

imposing on “furnishers of information” to credit bureaus detailed and specific

responsibilities, including the consumer dispute procedures stated in subsection (b).

A simplified summary is that 1681s-2(a) contains substantive and procedural

requirements limiting how a creditor may report a debt to the credit bureaus.

However §§1681s-2(c) and (d) do not provide any private cause of action for such

violations. That leaves §1681s-2(b) as the consumer’s principal remedy against a

creditor’s inaccurate reporting. This subsection applies only when a consumer makes

a dispute through the credit bureaus and requires the creditor to conduct a

“reasonable investigation” and to accurately report the results of that investigation

back to the bureaus. Plaintiff alleges that the Defendant violated both requirements.

              ARGUMENT AND CITATION TO AUTHORITY

      Defendant has not shown good cause for the requested protective orders. Rule

26(c)(1) allows for a protective order precluding any type of discovery “for good

cause shown.” The party requesting a protective order must make a specific

demonstration of facts in support of the request, rather than conclusory or

speculative statements about the need for a protective order and the harm which will

be suffered without one. E.g., In re PE Corp. Sec. Litig., 221 F.R.D. 20, 26 (D. Conn.

2003). A court must balance the competing factors involved in determining whether

good cause has been shown. See Farnsworth v. Procter & Gamble Co., 758 F.2d


                                                                                    9
1545, 1547 (11th Cir.1985). Defendant Ocwen has failed to meet its burden, so

Ocwen’s motion should be denied based on that alone.

        However, if a sufficient showing of good cause is found, and the Court

forgives the failure to meet and confer, the burden then shifts to the nonmoving party

to show why relief should still not be granted, either because of undue prejudice or

the importance of the discovery at issue. E.g., Wiggins v. Burge, 173 F.R.D. 226,

229 (N. D.Ill.1997) (“In deciding whether good cause exists, the district court must

balance interests involved: the harm to the party seeking the protective order and the

importance of the disclosure” ); Cummings v. General Motors Corp., 353 F.3d 944,

954 (10th Cir.2004) (it is not enough that the discovery be burdensome; that burden

must be “undue” ).

   I.     Defendant’s motion should be denied for failure to meet and confer.
        Because Defendant failed to comply with its meet and confer duties, its

motion should be denied. See Fed. R. Civ. P. 26(c)(1) (“A party ... may move for a

protective order.... The motion must include a certification that the movant has in

good faith conferred or attempted to confer with other affected parties in an effort to

resolve the dispute without court action.” ). Defendant did not attach the required

certification, and could not have done so because Defendant did not attempt to meet

and confer with Plaintiff prior to filing its motion, 37 minutes before the scheduled




                                                                                    10
deposition of BPA. Given Defendant’s failure to follow this most basic of

requirements to obtain a protective order, Defendant’s motion should be denied.

   II.      Plaintiff does not contest that Ocwen has standing to seek a
            protective order, but Plaintiff does not have standing for its motion
            to quash argument.
         In the Eleventh Circuit, “standing exists if the party alleges a ‘personal right

or privilege’with respect to the subpoenas.” Auto-Owners Ins. Co. v. Se. Floating

Docks, Inc., 231 F.R.D. 426, 429 (M.D. Fla. 2005). Thus Defendant may motion to

quash Mr. Ponder’s subpoenas by exerting a personal right or privilege with respect

to the subject subpoena. However, Defendant has disclaimed possession of the

documents which Plaintiff requested in discovery. Ex. G ¶¶¶ 26-28. Now, Defendant

has chosen to assert others’personal rights and privileges, which it cannot do.

         Besides relevance, the only argument that Defendant makes for standing is

then abandoned by Defendant. Defendant seeks to assert a right or privilege based

upon the fact that it has objected to producing some of the documents requested in

the subpoena. Defendant seeks to exclude all requested documents on the basis that

some of them have already been requested from Defendant. The Requests to which

Ocwen refers are numbers 27 and 28 of Mr. Ponder’s Second Request for Production

of Documents.

         REQUEST FOR PRODUCTION 27. Produce all reports by the
         Compliance Monitor identified in ¶9 of the Consent Order attached as
         Exhibit "A." [Exhibit A to the requests is Exhibit 2 attached to the
         Memorandum]

                                                                                      11
      ANSWER: See Response to Request No. 26.

      REQUST FOR PRODUCTION 28. Produce all reports by the
      Operations Compliance Monitors generated pursuant to the Consent
      Order attached as Exhibit "A."

      ANSWER: See Response to Request No. 26.

Ex. G. Importantly, Ocwen objects to the request for these documents by claiming

not to have them: “Ocwen objects that this Request seeks documents and information

from a third party… ” Ex. G, ¶ 26. Further, Defendant has not properly preserved the

purported controversy for this Court’s attention. Fed. R. Civ. P. 34(b)(2)(C) requires

that “[a]n objection must state whether any responsive materials are being withheld

on the basis of that objection” and “[a]n objection to part of a request must specify

the part and permit inspection of the rest.” Further, Defendant did not “state with

specificity the grounds for objecting to the request, including the reasons… ” Fed. R.

Civ. P. 34(b)(2)(B). Defendant has failed to properly object under Rule 34. Further,

the cited objection is boilerplate and fails to indicate whether any responsive

documents are in its possession— aside from objecting they seek documents in the

possession of third-parties. The Eleventh Circuit, in no uncertain terms, has stated

that such conclusory objections cannot form the basis for protective orders:

      To be adequate, objections which serve as the basis of a motion for
      protective order under Fed.R.Civ.P. 26 should be “plain enough
      and specific enough so that the court can understand in what way the
      interrogatories are alleged to be objectionable.” Davis v. Fendler, 650
      F.2d 1154, 1160 (9th Cir.1981). See Josephs v. Harris Corp., 677 F.2d
                                                                                   12
      985 (3d Cir.1982) (quoting Roesberg v. Johns-Manville Corp., 85
      F.R.D. 292, 296–   97 (E.D.Pa.1980)) (“party resisting discovery ‘must
      show specifically how ... each interrogatory is not relevant or how each
      question is overly broad, burdensome or oppressive....’” ).

      … The subsidiary question, therefore, is whether appellees' motion for
      a protective order contained sufficiently specific objections.

Panola Land Buyers Ass'n v. Shuman, 762 F.2d 1550, 1558-59 (11th Cir. 1985).

Objections that discovery was unnecessary, too long, too broad, require too much

time, are expensive to complete, are irrelevant, are improperly timed, and entail

unreasonable geographic compliance with no mention of the Rule 26(b) factors with

“sufficient specificity to allow the magistrate and the district court, absent an abuse

of discretion, [forms no basis] to grant the motion for a protective order.” Id. at 1559.

The Court also determined that the recitation of expense and burdensomeness were

merely conclusory. Id. Defendant’s objection to 26, is just the sort of objection that

the Eleventh Circuit described as lacking sufficient specificity to allow the Court to

grant a protective order, and merely conclusory:

      Ocwen objects to this Request on the grounds that it is overly broad,
      unduly burdensome, not reasonably limited in time and scope, and
      because it commands the disclosure of documents and information that
      are neither relevant to the issues that are the subject of this lawsuit, nor
      reasonably calculated to lead to the discovery of evidence admissible
      in this case. Ocwen objects that this Request seeks documents and
      information from a third party and that is grossly disproportionate to
      the 3 statutory claims at issue before this Court. Ocwen objects because
      the discovery sought has absolutely no bearing whatsoever on the
      determination of Ocwen's liability to Plaintiff in this action under
      RESPA, the FDCPA or the FCRA. Ocwen further objects that the time
      period at issue in 2011 falls far outside the statute of limitations of the
                                                                                      13
      claims at issue. Finally, Ocwen objects that state and federal laws
      prohibit the disclosure of confidential financial information belonging
      to other individuals in these circumstances, which do not warrant such
      disclosures. Plaintiff is on an improper fishing expedition which
      violates the spirit and rules of discovery.

Ex. G. Defendant failed to properly assert a privilege, so it cannot now rely on same.

In order to withhold information otherwise discoverable, Defendant had to expressly

make a claim and describe the evidence being withheld. See Fed. R. Civ. P.

26(b)(5)(A). Likely because Defendant’s objections and responses are inadequate,

Defendant does not assert its privileges or this discovery dispute as the reason to

grant this protective order, but— instead— argues relevance, and non-parties’

privileges under New York, Georgia, Florida, and Federal Banking Law. Aside from

relevance, Defendant’s purported standing is divorced from its arguments, so

Defendant should be understood to only be properly bringing its motion on the basis

of relevance. However, Mr. Ponder addresses each argument below.

   III.   Mr. Ponder’s subpoenas seek relevant evidence, which is important
          to prove his claims and overcome Defendant’s affirmative defenses.

      Federal Rule of Evidence 402 states: “All relevant evidence is
      admissible, except as otherwise provided by the Constitution of the
      United States, by Act of Congress, by these rules, or by other rules
      prescribed by the Supreme Court pursuant to statutory authority.
      Evidence which is not relevant is not admissible.”

Thus, in a class action case pending against Ocwen in the Eastern District of New

York, the Court found Ocwen’s relevance argument without merit because “[t]he

very reason NYDFS began investigating Ocwen’s practices closely was because it
                                                                                   14
      ha[d] consumer protection concerns relating to practices highlighted in
      the media that have been prevalent in the mortgage servicing industry
      generally, including but not limited to, the practice of “Robo-signing,”
      referring to affidavits in foreclosure proceedings that falsely attest that
      the signer has personal knowledge of the facts presented therein and/or
      were not notarized in accordance with state law; weak internal controls
      and oversight that may have compromised the accuracy of foreclosure
      documents; unfair and improper practices in connection with loss
      mitigation, including improper denials of loan modifications; and
      imposition of improper fees by servicers, amongst others.

Harte v. Ocwen Fin. Corp., No. 13-CV-5410, 2018 WL 1830811, at *15 (E.D.N.Y.

Feb. 8, 2018), report and recommendation adopted, No. 13CV5410MKBRER, 2018

WL 1559766 (E.D.N.Y. Mar. 30, 2018). These investigations and the monitor

reports are highly relevant to Mr. Ponder’s claims and the asserted defenses.

         a. Plaintiff seeks documents related to whether Defendant could verify the
            information it repeatedly reported on Plaintiff from 2011 through 2016.

      There are two categories of disputed information that Plaintiff disputed

pursuant to the FCRA as inaccurate. Plaintiff disputed Defendant’s double reporting

of his mortgage, and Defendant’s report that he was in default, including legacy fees

and penalties assessed by Litton. § 1681s–
                                         2(b)(1) requires creditors, after receiving

notice of a consumer dispute from a credit reporting agency, to conduct a reasonable

investigation of their records to determine whether the disputed information

can be verified. See Hinkle v. Midland Credit Mgmt., Inc., 827 F.3d 1295, 1302

(11th Cir. 2016) (stating that “reasonableness” is an appropriate touchstone for

evaluating investigations under § 1681s–
                                       2(b). Hinkle v. Midland Credit Mgmt., Inc.


                                                                                    15
was the case of first impression in the Eleventh Circuit of what constitutes a

“Reasonable Investigation” by a credit furnisher, and its facts were similar to the

case at hand in that the defendant, Midland Credit Management, Inc., much like

Defendant Ocwen in the present case, had acquired a loan that was purported to

already be in default and then relied solely on the records in its file to verify its credit

reporting.

       § 1681s–2(b) requires some degree of careful inquiry by furnishers of
       information. In particular, when a furnisher does not already possess
       evidence establishing that an item of disputed information is true, §
       1681s–  2(b) requires the furnisher to seek out and obtain such evidence
       before reporting the information as verified.” See id. at 431 (reversing
       summary judgment because a reasonable jury could find a violation of
       § 1681s–    2(b) where the furnisher “d[id] not look beyond the
       information contained in the [internal data file] and never
       consult[ed]      underlying       documents      such     as     account
       applications” ); cf. Cahlin, 936 F.2d at 1160 (observing that a claim for
       failure to investigate “is properly raised when a particular credit report
       contains a factual deficiency or error that could have been remedied by
       uncovering additional facts” ). The requirement to uncover additional
       facts will be more or less intensive depending on what evidence the
       furnisher already possesses. For instance, a debt buyer with account-
       level documentation or more comprehensive warranties from its
       predecessor debt buyer might be in a completely different position than
       Midland.

(emphasis added) Id. at 1303. “When a furnisher reports that disputed information

has been verified, the question of whether the furnisher behaved reasonably will turn

on whether the furnisher acquired sufficient evidence to support the conclusion that

the information was true. This is a factual question, and it will normally be reserved

for trial.” Id. However, the analysis does not stop there. The Court goes on to explain
                                                                                         16
that a furnisher has two other options besides reporting that information is verified.

This analysis has been cited approvingly against Defendant in this case and others.

See Ponder v. Ocwen Loan Servicing, LLC, No. 1:16-CV-4125-ODE-LTW, 2018

WL 4474635, at *4 (N.D. Ga. July 30, 2018), report and recommendation adopted

in part, overruled in part, 362 F. Supp. 3d 1275 (N.D. Ga. 2018); see also Hill v.

Ocwen Loan Servicing, LLC, 369 F. Supp. 3d 1324 (N.D. Ga. 2019).

      The question of what constitutes a “reasonable investigation” into a disputed

debt under the FCRA is very fact dependent, and requires an investigation into

whether the investigation is being conducted by a credit reporting agency or a

furnisher of information such as Defendant. Id. at 1302. Additionally, the court may

consider the status of the furnisher as an original creditor, a collection agency

collecting on behalf of the original creditor, a debt buyer, or a down-the-line buyer,

and on the quality of documentation available to the furnisher:

      We emphasize that what constitutes a “reasonable investigation” will
      vary depending on the circumstances of the case and whether the
      investigation is being conducted by a CRA under § 1681i(a), or a
      furnisher of information under § 1681s–      2(b). See Chiang, 595 F.3d at
      38 (“[W]hat is a reasonable investigation by a furnisher may vary
      depending on the circumstances.” ); Gorman, 584 F.3d at 1160 (“[T]he
      reasonableness of an investigation depends on the facts of the particular
      case ....” ). Whether a furnisher’s investigation is reasonable will depend
      in part on the status of the furnisher— as an original creditor, a
      collection agency collecting on behalf of the original creditor, a debt
      buyer, or a down-the-line buyer— and on the quality of documentation
      available to the furnisher. See, e.g., Johnson, 357 F.3d at 431
      (reasoning that a jury could find a § 1681s–      2(b) violation where the
      original creditor ended its investigation before “consult[ing]
                                                                                    17
      underlying documents such as account applications” ). The facts of
      this case require us to determine whether a reasonable jury could find
      that Midland— a down-the-line buyer with “as is” purchase agreements
      and no account-level documentation— fell short of the reasonable
      investigation standard when it relied on internal records to verify the
      identity of an alleged debtor.

(emphasis added) Id. An FCRA plaintiff must seek out information regarding the

quality of the documentation available to the furnisher, the status of the furnisher,

and all the facts surrounding its action which indicate that relying only on internal

records to verify account information in a credit report is inadequate to verify that

information to a Credit Reporting Agency.

         b. Plaintiff’s Subpoenas seek documents related to whether Defendant
            willfully violated the FCRA.

      Defendant’s Fifth Defense attempts to overcome the willfulness requirement

for a finding of punitive damages. It states that “… any representations or statements

alleged to have been made by Ocwen were true and accurate at the time made and/or

otherwise were made in good faith and with a reasonable belief as to their validity

and accuracy and with reasonable belief that all Ocwen’s conduct was lawful.”

(emphasis added) (Doc. 73, p. 32). As described in depth above, any belief by

Ocwen, without verification, that it had accurate records could not be sincere, given

that “[t]he examination of Litton also revealed that, prior to Ocwen’s acquisition of

Litton, members of Litton’s information technology staff falsified documents




                                                                                   18
provided to the Department during the review of Litton’s information technology

infrastructure.” Ex. I, p. 3.

          c. Plaintiff seeks documents relevant to Defendant’s asserted defenses
             regarding the question of whether it is a “Debt Collector” .

       Defendant asserts that it is not a debt collector, so Mr. Ponder must investigate

the question of Ocwen’s acquisition of Litton to determine whether Ocwen acquired

the debt from Litton while treating it as in default, or whether Ocwen merged with

Litton, and— prior to that— whether Litton acquired the loan in default.

       For an entity that did not originate the debt in question but acquired it
       and attempts to collect on it, that entity is either a creditor or a debt
       collector depending on the default status of the debt at the time it was
       acquired. The same is true of a loan servicer, which can either stand in
       the shoes of a creditor or become a debt collector, depending on
       whether the debt was assigned for servicing before the default or
       alleged default occurred.

Bridge v. Ocwen Fed. Bank, FSB, 681 F.3d 355, 359 (6th Cir. 2012).

       Defendant’s Eleventh Defense is that “Plaintiff’s FDCPA claims are barred to

the extent that Ocwen is not a ‘debt collector’under the FDCPA.” (Doc. 73, p. 33).

Defendant’s Twelfth Defense is that “Plaintiff’s FDCPA claims are barred to the

extent that Ocwen is a ‘creditor’under the FDCPA.” (Doc. 73, p. 33). In support of

his claim that Defendant is a debt collector, Mr. Ponder seeks to prove that

Defendant Ocwen obtained its interest in the Account after Plaintiff’s alleged

default. (Doc. 53 ¶ 13).



                                                                                     19
         d. Subpoenaed evidence relates to whether Defendant has a pattern and
            practice of transgressing RESPA.

      The subject subpoenas seek evidence regarding monitor reports that explore

Defendant’s    pattern   and   practice    of   RESPA   violations.   In   order   to

recover statutory damages,     Plaintiff    must   show     “a pattern or practice of

noncompliance.” See Miranda v. Ocwen Loan Servicing, LLC, 148 F. Supp. 3d

1349, 1355–56 (S.D. Fla. 2015), quoting 12 U.S.C. § 2605(f)(1)(B).

      “Pattern or practice” is not defined by a specific number of offenses;
      rather, the term suggests a standard or routine way of operating…
      failure to respond to one QWR did not amount to
      “pattern or practice” … (finding defendant's insufficient response to
      two QWRs insufficient to establish “pattern or practice” )… (failure to
      respond to QWRs on five occasions was sufficient to establish
      “pattern or practice” ).

(internal citations omitted) Id. A multistate examination of Ocwen identified

deficiencies in Ocwen’s servicing platform and loss mitigation infrastructure,

including robo-signing, inaccurate affidavits and failure to properly validate

document execution processes, missing documentation and failure to properly

maintain books and records. Ex. I, p. 3. Further, the Monitor Reports, starting in

2014, and extending through at least 2017, monitored Ocwen’s operations and

provide a picture of whether there is a pattern and practice of the behavior to which

Mr. Ponder was treated. Ex. I, p. 12. Further, the Monitors were charged with

reviewing the Ocwen borrower experience, and “whether Ocwen is treating



                                                                                   20
borrowers fairly and is communicating with borrowers appropriately” . Ex. I, pp. 12-

13. Testimony regarding findings is needed to show pattern and practice.

         e. Plaintiff seeks discovery related to Plaintiff’s claim for punitive
            damages under the FCRA.

      Mr. Ponder seeks evidence regarding Ocwen’s willfulness under Safeco Ins.

Co. of Am. v. Burr, 551 U.S. 47 (2007); see also Levine v. World Fin. Network Nat’l

Bank, 554 F.3d 1314, 1318 (11th Cir. 2009). In Levine, the Eleventh Circuit restated

the Supreme Court’s Safeco standard. Id. The Safeco standard reduces the Plaintiff’s

willfulness burden:

      Safeco changed the standard previously applied in the Fifth Circuit,
      pursuant to which a defendant could have been found in willful
      noncompliance under § 1692n only if it “ ‘knowingly and intentionally
      committed an act in conscious disregard for the rights of others.’ “
      Stevenson v. TRW Inc., 987 F.2d 288, 293-94 (5th Cir.1993) (quoting
      Pinner v. Schmidt, 805 F.2d 1258, 1263 (5th Cir.1986), cert. denied,
      483 U.S. 1022 (1987)); see also Harris v. Defendant 3 Info. Servs.,
      LLC, No. C A 606CV-01810-GRA, 2007 WL 1862826, at *2 (D.S.C.
      June 26, 2007) (“In Safeco, the Supreme Court unequivocally resolved
      this circuit split, holding that willfulness under 15 U.S.C. § 1681n(a)
      covers a violation committed in reckless disregard of Plaintiff's
      rights.” ).

Robertson v. J.C. Penney Co., Inc., No. 2:06CV3-KS-MTP, 2008 WL 623397, at *9

(S.D. Miss. Mar. 4, 2008). While in many circuits, the courts had previously required

“knowing or conscious disregard,” Dalton v. Capital Assoc. Indus., Inc., 257 F.3d

409, 418 (4th Cir. 2001), or even “willful concealment,” Cousin v. Trans Union

Corp., 246 F.3d 359, 372 (5th Cir. 2001), the post-Safeco standard included


                                                                                  21
“recklessness.” Levine, 554 F.3d at 1318. Plaintiff is entitled to evidence that

establishes Ocwen’s level of recklessness or willfulness in its disregard of Plaintiff’s

rights under the FCRA. Ocwen, with notice of ongoing problems with information

technology systems and personnel, including with respect to record keeping and

borrower communications, number of personnel and the training and expertise of its

personnel in all servicing operations, the onboarding process for newly acquired

mortgage servicing rights, which is serious inflection point in this case because

Ocwen’s onboarding of Mr. Ponder’s loan has led it to assume the veracity of the

Litton information, and any information regarding the inadequacies of Ocwen’s

onboarding process prior to 2014 will directly relate to the question of whether

Ocwen is and was aware that it is willfully parroting Litton’s false records. Ex. I, p.

12. Many of the same information that will support Mr. Ponder’s RESPA statutory

damages pattern and practice claim will support his punitive damages claim, but—

further— the Monitor Reports purport to be extremely thorough, and to the extend

that they put Ocwen on notice of its systematic failures and inadequate policies and

procedures, staffing, etc., these reports made Ocwen’s illegal treatment of Mr.

Ponder willful.

          f. The subpoenas seek evidence related to many of Defendant’s defenses,
             as discussed supra in addition to the following.

      Defendant’s Fourth Defense is that “Plaintiff’s claims are barred because any

alleged violation by Ocwen was unintentional, bona fide, and resulted
                                                                                     22
notwithstanding Ocwen’s maintenance of procedures reasonably adapted to avoid

any such violation.” (Doc. 73, p. 31). Obviously the review of the adequacy of

Ocwen’s procedures leading up to this litigation is relevant to Defendant’s Fourth

Defense.

      Defendant’s Twentieth Defense is that “[a]t all relevant times, Ocwen

maintained and followed reasonable procedures to avoid violations of the FCRA and

assure maximum possible accuracy of the information concerning Plaintiff in

furnishing information related to Plaintiff.” (Doc. 73, p. 34). Clearly, the review of

the adequacy of Ocwen’s policies leading up to this litigation is relevant to

Defendant’s Twentieth Defense.

      Defendant’s Ninth Defense is that “Plaintiff’s damages are the result of the

conduct of another, not the result of any wrongdoing on the part of Ocwen.” (Doc.

73, p. 32). The information related to the transition from Litton to Ocwen can shed

light on whether Mr. Ponder’s damages are more the result of Litton’s actions or

Ocwen’s actions. Mr. Ponder’s subpoenas seek relevant evidence, which is

important to prove his claims and overcome Defendant’s affirmative defenses.

   IV.     Ocwen Seeks without standing to assert other’s privileges.

           a. Defendant cannot assert the privileges of BPA, STG, or the NYSDFS.

      Defendant does not have standing to assert the privileges on which its motion

is based. “The law governing courts in the Eleventh Circuit… is… [that] standing


                                                                                   23
exists if the party alleges a ‘personal right or privilege’ with respect to the

subpoenas.” Auto-Owners Ins. Co. v. Se. Floating Docks, Inc., 231 F.R.D. 426, 429

(M.D. Fla. 2005). Defendant has not asserted a personal privilege with respect to the

materials, and has not pursued its prior objections argument besides relevance and

attempting to assert another’s privilege.

       Defendant has made its privilege argument before to no avail, and provides

this Court no reason to disagree with the Eastern District of Texas. See United States

ex rel. Fisher v. Ocwen Loan Servicing, LLC, No. 4:12-CV-543, 2015 WL 3942900,

at *3 (E.D. TEx. Hune 26, 2015). New York, Georgia, and Florida Laws do not

preclude disclosure of the evidence.

       Federal Rule of Evidence 501 provides that the “common law— as
       interpreted by United States courts in the light of reason and
       experience— governs a claim of privilege” unless federal law provides
       otherwise. Rule 501 also makes it clear that “in a civil case, state law
       governs privilege regarding a claim or defense for which state law
       supplies the rule of decision.”

Id. at *3. Ocwen had no expectancy that these records would not be disclosed in

subsequent consumer litigation. See Id. at *5.

       Federal Common Law does not form a justification for a protective order. The

Federal Common Law banking privilege woulld not apply, even if Defendant could

assert it:

       The federal banking privilege is “a discretionary one that depends upon
       ad hoc considerations of competing policy claims.” Rouson ex. rel.
       Estate of Rouson v. Eicoff, No. 04–CV–   2734, 2006 WL 2927161, at *4
                                                                                   24
      (E.D.N.Y. Oct. 11, 2006). “The Court must weigh the government's
      interest in nondisclosure against those of the litigants and society in
      ‘accurate judicial fact finding.’ ” Id. The Court should consider the
      following factors: (1) “the relevance of the evidence sought to be
      protected” ; (2) “the availability of other evidence ...” ; (3) “the
      ‘seriousness' of the litigation and the issues involved ...” ; (4) “the role
      of the government in the litigation ...” ; and (5) “the possibility of future
      timidity by government employees who will be forced to recognize that
      their secrets are violable.” Id. The NYDFS has not attempted to
      conduct this analysis, and the Court finds that even if it were to conduct
      that analysis, it would lead the Court to the conclusion that the privilege
      should not apply to highly relevant documents in a FCA case, as the
      Court similarly concluded in its analysis supra.

United States ex rel. Fisher v. Ocwen Loan Servicing, LLC, No. 4:12-CV-543, 2015

WL 3942900, at *5 (E.D. Tex. Hune 26, 2015). Similarly, Defendant has not

attempted to conduct the above-described analysis, and it is unlikely that it could

form a justification to exclude evidence that is directly on point to Mr. Ponder’s

FCRA, RESPA, and FDCPA claims.

                                   CONCLUSION
      Defendant having failed to show irrelevance or that Defendant has a privilege

to assert, and Plaintiff having shown the importance of the subpoenaed evidence,

Defendant’s motion should be denied, including the suggestion that this Court

should somehow limit Mr. Ponder’s subpoenas.


      Respectfully submitted, this 28th day of May, 2019.

                                                /s/ Orion G. Webb
                                                Orion G. Webb
                                                Georgia Bar No. 479611

                                                                                      25
 Smith Welch Webb & White, LLC
 280 Country Club Drive #300
 Stockbridge, Georgia 30281
 (770) 389-4864 (telephone)
 (770) 389-5193 (facsimile)
 owebb@smithwelchlaw.com
Attorney for Plaintiff




                                 26
                         CERTIFICATE OF SERVICE

      I hereby certify that on this day, I electronically filed the foregoing document

with the Clerk of the Court using the CM/ECF system which will send notification

of such filing to all attorneys of record.


                                 SMITH WELCH WEBB & WHITE, LLC


                                 /s/ Orion Gregory Webb
                                 Orion Gregory Webb
                                 Georgia Bar No. 479611
                                 280 Country Club Drive, Suite 300
                                 Stockbridge, GA 30281
                                 Telephone: (770) 389-4864
                                 owebb@smithwelchlaw.com
                                 COUNSEL FOR PLAINTIFF



      CERTIFICATION OF COMPLIANCE WITH LOCAL RULE 5.1

      Plaintiff’s counsel hereby certifies that this pleading has been prepared with

one of the font and point selections approved by the Court in L.R. 5.1.




                                                                                    27
